Case 1:17-cv-03857-TWP-MJD Document 15 Filed 02/19/18 Page 1 of 3 PageID #: 92



                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

DEONTA ELLIS,                              )
                                           )
              Plaintiff,                   )
                                           )
       v.                                  )
                                           )      Case No.: 1:17-cv-3857-TWP-MJD
DANIEL SLIGHTOM and CARLTON                )
HOWARD in their individual and             )
official capacities, the CITY OF           )
INDIANAPOLIS,                              )
                                           )
              Defendants.                  )

                     DEFENDANTS’ PRELIMINARY WITNESS LIST

       Daniel Slightom, Carlton Howard, and the City of Indianapolis submit the following

Preliminary Witness List:

       1. Deonta Ellis;

       2. Daniel Slightom;

       3. Carlton Howard;

       4. Lavon Robert Washington.

       5. Sergeant Aaron Schlesinger.

       6. Officer Justin Toussing.

       7. Sergeant Stephen Fippen.

       8. Officer Dennis Lowe.

       9. Officer Evan Davis.

       10. Officer Albert Teaters.

       11. Sergeant Laura Weida.

       12. Sergeant Frederick Lantzer.
Case 1:17-cv-03857-TWP-MJD Document 15 Filed 02/19/18 Page 2 of 3 PageID #: 93



      13. Lieutenant David Phillips.

      14. Sergeant Leslie Van Buskirk.

      15. Officer Michael Beatty.

      16. Officer Anthony Carter;

      17. Officer Christopher Clouse;

      18. Officer Scott Godby;

      19. Officer Shawn Holmes;

      20. Officer Eric Huxley;

      21. Officer Brian Ramey;

      22. Any person identified in any discovery response;

      23. Any person deposed or yet to be deposed in this matter;

      24. Any person necessary for authentication of any evidence;

      25. Any person listed on any witness list filed by any party; and,

      26. Witnesses for the purposes of rebuttal and/or impeachment.




                                                    Respectfully Submitted,

                                                    /s/ Thomas J. O. Moore
                                                    Thomas J. O. Moore (32079-53)
                                                    Assistant Corporation Counsel
                                                    OFFICE OF CORPORATION COUNSEL
                                                    200 East Washington Street, Suite 1601
                                                    Indianapolis, Indiana 46204
                                                    Telephone: (317) 327-4055
                                                    Email: thomas.moore@indy.gov
Case 1:17-cv-03857-TWP-MJD Document 15 Filed 02/19/18 Page 3 of 3 PageID #: 94



                              CERTIFICATE OF SERVICE

       I hereby certify that on February 19, 2018 a copy of the foregoing was filed electronically

via the Court’s system. Service of this filing will be made on the below Registered Users via the

Court’s CM/ECF system.

Christopher K. Starkey
406 South Harrison Street
Shelbyville, Indiana 46176
                                                    Respectfully Submitted,

                                                    /s/ Thomas J. O. Moore
                                                    Thomas J. O. Moore (32079-53)
                                                    Assistant Corporation Counsel
OFFICE OF CORPORATION COUNSEL
200 East Washington Street, Suite 1601
Indianapolis, Indiana 46204
Telephone: (317) 327-4055
